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             EXHIBIT 1
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                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia


                                                       601 D Street, N.W.
                                                       Washington, D.C. 20530

                                                     May 9, 2022

                Re: Capitol Siege Cases
                    Global Discovery Production No. 15

Dear Counsel:

        This letter addresses Capitol Siege Section Discovery Unit Global Production No. 15,
consisting of Relativity production volumes DOJCB_018, DOJCB_019, DOJ_ABD_008, and
DOJ_ABD_009.
       A. Relativity Productions
       Materials shared to the defense Relativity workspace will become available to you upon
your receipt of a license to access Relativity.1 Please be advised that sharing voluminous
documents to the defense Relativity workspace can sometimes take several hours or days,
depending on the size of files being shared.

       1. Volume DOJCB_018: On May 3, 2022, the following documents were shared to the
          defense Relativity database:
             a. Federal Bureau of Investigation (“FBI”) interview memoranda from
                 interviews of 48 law enforcement officers from multiple agencies and
                 accompanying exhibits (CAPD_000434759 - CAPD_000434941,
                 CAPD_000435145 - CAPD_000435163, CAPD_000435198 -
                 CAPD_000435206, CAPD_000437229 - CAPD_00437281,
                 CAPD_000443219 - CAPD_000443228, and CAPD_000443263 -
                 CAPD_000443270).
             b. U.S. Capitol Police (“USCP”) Files related to Assaults on Officers
                 (CAPD_000434942 - CAPD_000435099).
             c. USCP Casework Files (CAPD_000435100 - CAPD_000435144).


1
 If you have never received an invitation to obtain a Relativity license, or you are experiencing
difficulties or challenges with gaining access, please email Shelli Peterson at
Shelli_Peterson@fd.org.
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               d. Materials gathered by the FBI related to Ronald Loehrke (CAPD_000435207
                  and CAPD_000437228).
               e. Materials gathered by the FBI related to Zach Rehl (CAPD_000435164 -
                  CAPD_000435197, CAPD_000442094 - CAPD_000443218).
               f. Materials gathered by the FBI related to Ethan Nordean (CAPD_000437282 -
                  CAPD_000442093).
               g. USCP Files related to Robert Sanford (CAPD_000443229 -
                  CAPD_000443262).

       2. Volume DOJCB_019: The FBI has 60-plus social media accounts (Twitter,
          Facebook, YouTube, etc.) which are managed by FBI Headquarters and Field
          Offices. The National Threat Operations Center evaluates comments directed toward
          these social media accounts for potential crimes, threats of harm to an individual, or
          national security threats. On May 6, 2022, 40,481 social media comments directed
          toward FBI social media accounts were shared to the defense Relativity database
          (CAPD_000443271 and CAPD_000483792).

       3. Volume DOJ_ABD_008:2 On May 3, 2022, DOJ_ABD items associated with 52
          individuals (listed in the attached index) were produced to the defense Relativity
          database (CAPD_000389279 - CAPD_000434758).

       4. Volume DOJ_ABD_009: On May 6, 2022, DOJ_ABD items associated with 59
          individuals (listed in the attached index) were produced to the defense Relativity
          database (CAPD_000483793 - CAPD_000530146).
        All materials produced in volumes that begin with DOJ_ABD can be filtered by the name
of the individual to whom they relate and by the type of item using the fields in Relativity called
1B1D_Subject and 1B1D_Device Description, respectively.

         A corresponding index has been made available via USAfx. The PDF version of the
index corresponds to this global production (only). The Excel version of the index corresponds
to this production and also includes all prior global productions. We have removed the page
number column from the index because the page count is misleading with respect to the
production of certain digital items (e.g., spreadsheets, video files, audio files, and materials from
scoped digital devices). Sensitivity designations for the materials described above are identified
in the index and in the defense Relativity database.



2
  The Relativity volume prefix “DOJ_ABD” refers to production volumes that consist of the
following types of digital evidence items: (1) files from digital devices (e.g., cell phones and
laptop computers) or Stored Communications Act accounts (e.g., Gmail, Facebook, Twitter) that
have been identified by law enforcement as relevant to the Capitol Siege investigation; and (2)
recorded interviews with investigation subjects.

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        At this juncture, 229,871 files have been provided to the defense Relativity database.
These documents include 159 digitally recorded interviews, and the results of searches of 214
digital devices and 21 Stored Communications Act accounts.

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       We will forward additional discovery as it becomes available.

                                                     Sincerely,


                                                     EMILY A. MILLER
                                                     Chief, Discovery Unit
                                                     Capitol Siege Section




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